                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   TOLEDO DIVISION

 In Re:                                           Case No. 19-33537-jpg

 Bonice Murray
                                                  Chapter 13
  aka Bernice Murray

 Debtor.                                          Judge John P. Gustafson

                                      NOTICE OF APPEARANCE

        Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.
Bankruptcy Court, Northern District of Ohio, and enters an appearance on behalf of Franklin
Credit Management Corporation as Servicer for Wilmington Savings Fund Society, FSB, not in
its individual capacity but solely as certificate trustee of Bosco Credit II Trust Series 2010-1
(‘Creditor’), in the above captioned proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor

                                  CERTIFICATE OF SERVICE

I certify that on November 14, 2019, a true and correct copy of this Notice was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Blanca Norma Wheeler, Debtor’s Counsel
          blanca@mockltd.com

          Ericka S. Parker, Trustee
          esparker@sbcglobal.net




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       Office of the U.S. Trustee
       (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

       Bonice Murray, Debtor
       4120 King Road
       Sylvania, OH 43560

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Attorney for Creditor




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